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 15    Attorneys for Defendants (Additional Counsel on Signature Page)

 16                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 17
      CITY OF SPOKANE, a municipal
 18   corporation, located in the County of Case No. 15-cv-00201-SMJ
      Spokane, State of Washington,
 19                                         Declaration of Adam E. Miller
                      Plaintiff,            Re: Defendants’ Daubert Motion to
 20                                         Exclude the Expert Testimony of J.
            v.                              Michael Trapp
 21
    MONSANTO COMPANY, SOLUTIA
 22 INC., and PHARMACIA
    CORPORATION, and DOES 1 - 100,
 23              Defendants.
      DECL. OF ADAM MILLER ISO DEFENDANTS’
 24   DAUBERT MOTION TO EXCLUDE TRAPP

      4844-0293-1635 v1
Case 2:15-cv-00201-SMJ   ECF No. 399    filed 01/28/20   PageID.19193 Page 2 of 5




  1         Adam E. Miller declares and states under penalty of perjury:
  2         1.    I am over the age of 18 and competent to be a witness herein. I am an

  3 attorney for Defendants Pharmacia LLC (“Pharmacia” or “Old Monsanto”),

  4 Monsanto Company (“New Monsanto”) and Solutia Inc. (“Solutia”) (collectively,

  5 “Defendants”) in this matter. Except where indicated otherwise, I make this

  6 declaration based on my own personal knowledge and the books and records of my

  7 firm Kutak Rock LLP.

  8         2.    Exhibit A includes a true and correct copy of the Expert Report of J.

  9 Michael Trapp and Joel E. Bowdan III, City of Spokane v. Monsanto Company, et

 10 al. dated October 11, 2019 (“Trapp Rpt.”)
 11         3.    Exhibit B includes a true and correct copies of the Updated Damages

 12 Model (PCB-SPOKANE-08180230 to PCB-SPOKANE-08180315) served as a

 13 part of the 35th Production of Documents made by Plaintiffs on January 3, 2020.
 14         4.    Exhibit C includes true and correct copies of excerpts of the

 15 deposition transcript of deposition testimony of Michael Trapp, taken on January

 16 17, 2020, in the matter captioned City of Spokane, et al. v. Monsanto Company, et

 17 al., Case No. 2:15-cv-00201 (SMJ) in the U.S. District Court for the District of

 18 Eastern District of Washington, at 11440 West Bernardo Court, Suite 265; San

 19 Diego, California before Gail E. Kennamer,, CSR 4583. CCRR. Exhibit C includes
 20 the following pages from the transcript: 15-18, 21, 23-24, 31, 52-56, 58-32, 68-69

 21 and Court reporter certification.

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 23
      DECL. OF ADAM MILLER ISO DEFENDANTS’
 24   DAUBERT MOTION TO EXCLUDE TRAPP
Case 2:15-cv-00201-SMJ    ECF No. 399   filed 01/28/20   PageID.19194 Page 3 of 5




  1         5.    Exhibit D includes a true and correct copy of the Expert Report of
  2 David Dilks, Ph.D. in the Matter of City of Spokane v. Monsanto Co., et al. dated

  3 October 10, 2019

  4         6.    Exhibit E includes a true and correct copy of Exhibit 2 from the
  5 Deposition of David Dilks taken on January 23, 2020, in the matter captioned City

  6 of Spokane, et al. v. Monsanto Company, et al., Case No. 2:15-cv-00201 (SMJ) in

  7 the U.S. District Court for the District of Eastern District of Washington, at 2723

  8 South State Street, Suite 150, Ann Arbor, Michigan, before Anne E. Vosburgh,

  9 CSR. 6804, RPR.

 10         7.    Exhibit F includes a true and correct copy of “Evaluation of the
 11 Sources, Fate and Transport of Polychlorinated Biphenyls (PCBs) and Other

 12 Substances in the Spokane River Watershed” Prepared for Monsanto Company,

 13 Solutia, Inc., and Pharmacia LLC by Kurt Herman, M. Eng. P.G., dated November
 14 14, 2019.

 15         8.    Exhibit G includes a true and correct copy of the Eastern Washington

 16 Phase II Municipal Stormwater Permit dated August 1, 2012.

 17         9.    Exhibit H includes a true and correct copy of 40 CFR Parts 9, 122,

 18 123 and 124 ‘National Pollutant Discharge Elimination System—Regulations for

 19 Revision of the Water Pollution Control Program Addressing Storm Water
 20 Discharges, Federal Register Vol. 64, No. 235 dated December 8, 1999.

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 23
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  1           10.   Exhibit I includes a true and correct copy of the Expert Rebuttal
  2 Report of J. Michael Trapp, City of Spokane v. Monsanto Company, et al., dated

  3 December 17, 2019.

  4      //
  5           I declare under penalty of perjury of the law of the United States that the

  6 foregoing is true and correct to the best of my knowledge. Signed this 28th day of

  7 January 2020 at St. Louis, Missouri.

  8

  9                                            By: s/Adam E. Miller
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  1
                               CERTIFICATE OF SERVICE
  2

  3         I certify that on January 28, 2020, I caused the foregoing Declaration to be

  4 electronically filed with the clerk of the Court using the CM/ECF System which in

  5 turn automatically generated a Notice of Electronic Filing (NEF) to all parties in the

  6 case who are registered users of the CM/ECF system. The NEF for the foregoing

  7 specifically identifies recipients of electronic notice.

  8
                                             By: s/ Adam E. Miller
  9                                          Adam E. Miller, MO Bar No. 40945
                                             (Pro Hac Vice)
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 12                                          Phone (314) 754-4810
                                             Attorneys for Defendants Monsanto
 13                                          Company, Solutia Inc., and Pharmacia LLC
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